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       Associates, LLC and Richard Feferman
  10

  11                           UNITED STATES BANKRUPTCY COURT

  12                           SOUTHERN DISTRICT OF CALIFORNIA

  13
       In Re:                                  CASE NO: 17-06078-MM7
  14

  15
       CORE SUPPLEMENT                         DECLARATION OF RICHARD BASS IN
  16
       TECHNOLOGY, INC.,                       SUPPORT OF OPPOSITION BY FORMER
  17                                           CHAPTER 11 CHIEF RESTRUCTURING
                Debtor.                        OFFICER RICHARD FEFERMAN TO
  18                                           CHAPTER 7 TRUSTEE RICHARD M
  19                                           KIPPERMAN’S MOTION TO DISGORGE
                                               COMPENSATION
  20
                                               DATE: May 7, 2020
  21                                           TIME: 10:00 a.m.
  22                                           DEPT: 1, Room 218

  23                                           Honorable Margaret M. Mann
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                                           DECLARARTION OF RICHARD BASS
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             I, Richard Bass, declare and state as follows:
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   J


   4         1.      I was the head and only member of the IT department for Core
   5   Supplement Technology, Inc. from July, 2013 until March, 2018. In this capacity,I

   6   was deeply involved in the adoption of Microsoft Dynamics GP as the Core

   7   Supplement Technology Inc.'s Enterprise Resource Planning (ERP) system.

   8   Dynamics GP was used to process all aspects of the company's accounting including

   9   General Ledger, Accounts Payable, Accounts Receivable, Bank Reconciliation,

  10   Purchasing, Inventory, and Manufacturing. The matters set forth herein are within

  11   my own personal knowledge, except as to those matters stated upon information and

  t2   belief. If called upon as a witness, I could and would testify competently thereto.
  13         2.      By the time Chapter 11 was filed, the former CFO, Robert Jeffiey
  14   Macartney, aka. Jeff Macartney had left the company, andthe accounting department
  15   was being run by Kathy Haycook who had originally been hired as a senior

  t6   accounting clerk.

  t7         3.      When Richard Feferman was brought on as Chief Reorganization

  1B   Officer, the accounting department was already in a substantial amount of disarray. I
  t9   know this because Kathy and I talked frequently, and I was involved in performing

  20   certain administrative functions on the ERP system. Together Kathy and I came up

  2t   with a strategy of how to handle the pre- and post-petition accounts payable in the
  22   ERP system.

  23         4.      As the weeks post filing went on, Kathy got further and further behind,

  24   and her health suffered. She had never handled a bankruptcy before. The additional

  25   reporting on top of trying to handle the day-to- day accounting work became

  26   overwhelming. At some point, she went out on disability.
  27         5.      At this point Nikki McEvers, the head of HR, and I assumed the
  28   accounting functions as best we could. Both of us had helped the first CFO, Andrea
       Kumjian, as accounting clerks. I had extensive knowledge about the ways

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       manufacturing orders were processed in GP and had done some accounts payable
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       processirrg. Nikki had done accounts payable and accounts receivable before
   a
   J
       becoming head of HR.
   4
             6.       There was a huge challenge in trying to keep the ERP system in sync
   5
       with what was happening in the real world. Physical inventory counts always
   6
       showed large shortages compared to what was in the system. On top of that, after
   7
       Core had filed chapter 11, there was an attemptto outsource a fair amount ofthe
   B
       manufacturing to Simpson Labs. This was done in several different ways including:
   9
                  a. Providing the blended material to Simpson Labs, and having Simpson
  10
                      Labs do just the packaging.
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                  b. Providing all of the raw materials to Simpson      Labs, and having them do
  12
                      the blending and packaging.
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                  c. Providing   some of the raw materials to Simpson Labs, and having them
  t4
                      contribute some of their own, and then blend and package.
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                  d. Providing none of the materials. Simpson Labs would produce          the
  16
                      whole order.
  t7
             7.       To make things even more complicated, the packaging components used
  18
       in the packaging process could be provided by Core, by Simpson Labs or some
  19
       combination.
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             8.       Physically this was straight-forward. A phone call would get made by
  2t
       General Manager Joe O'Dea to discuss what was coming from where, some
  22
       shipments would be done, and the order would get produced. Reflecting this in the
  Z)
       system after the fact to handle the proper accounting of costs, however, was a huge
  24
       challenge.
  25
             9.       Even more confusing was the fact thatwe were purchasing some raw
  26
       goods from Simpson Labs as well as manufacturing services. Also, we would at
  27
       times sell them some of our raw goods that we had on hand for some of the orders
  28
       they were producing for us. As a result, a given order could be made up of Core



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   1
        owned raw materials, Simpson owned raw materials, Core owned packaging
   2
        materials, and Simpson owned packaging materials.
   .\
   J

   4

   5      I declare under penalty of perjury that the forgoing is true and correct.
   6
          Executed in the County of San Diego, State of California, on the 3'd day of April,
   7      2020.

   I
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                                               RICHARD BASS

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                                      DECLARARTION OF RICHARD BASS
